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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA



SKYLER R. BROWN,                                        No. 2:20-cv-1734 WBS DB P

                  Plaintiff,

          v.

ALLEN, et al.,
                                                        ORDER & WRIT OF HABEAS CORPUS
                  Defendants.                           AD TESTIFICANDUM
                                                 /

Skyler R. Brown, CDCR # BA-4084, a necessary and material witness in a settlement conference
in this case on July 23, 2024, is confined in Mule Creek State Prison (MCSP), in the custody of
the Warden. In order to secure this inmate's attendance it is necessary that a Writ of Habeas
Corpus ad Testificandum issue commanding the custodian to produce the inmate before
Magistrate Judge Dennis M. Cota, by Zoom video conference from his place of confinement, on
Tuesday, July 23, 2024 at 9:30 a.m.

                                 ACCORDINGLY, IT IS ORDERED that:

       1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
          commanding the Warden to produce the inmate named above, by Zoom video conference,
          to participate in a settlement conference at the time and place above, until completion of
          the settlement conference or as ordered by the court. Zoom video conference connection
          information will be supplied via separate email.

       2. The custodian is ordered to notify the court of any change in custody of this inmate and is
          ordered to provide the new custodian with a copy of this writ.

       3. The Clerk of the Court is directed to serve a copy of this order via fax on the Litigation
          Office at Mule Creek State Prison at (209) 274-5018 or via email.

       4. Any difficulties connecting to the Zoom video conference shall immediately be reported
          to Jodi Palmer, Courtroom Deputy, at jpalmer@caed.uscourts.gov.

                       WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden, MCSP, P. O. Box 409099, Ione, California 95640:

WE COMMAND you to produce the inmate named above to testify before Judge Cota at the
time and place above, by Zoom video conference, until completion of the settlement conference
or as ordered by the court.

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FURTHER, you have been ordered to notify the court of any change in custody of the inmate
and have been ordered to provide the new custodian with a copy of this writ.

Dated: June 6, 2024
